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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
MARY NEWCOMB, executrix of   *
the Estate of ANDREW TIDD,   *
                             *                     No. 18-1393V
                 Petitioner, *                     Special Master Christian J. Moran
                             *
v.                           *                     Filed: February 11, 2020
                             *
SECRETARY OF HEALTH          *                     Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,          *                     myocarditis; death.
                             *
                 Respondent. *
******************** *

Jessica E. Choper, Britcher Leone, LLC, Glen Rock, NJ, for Petitioner;
Julia M. Collison, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On February 11, 2020, the parties filed a joint stipulation concerning the
petition for compensation filed by Mary Newcomb, as executrix of the estate of
Andrew Tidd, on September 13, 2018. Petitioner alleged that the influenza (“flu”)
vaccine Mr. Tidd received on September 17, 2016, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused him to suffer
myocarditis and death. Petitioner represents that there has been no prior award or
settlement of a civil action for damages on behalf of Mr. Tidd as a result of his
condition.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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     Respondent denies that the flu vaccine caused Mr. Tidd to suffer
myocarditis, death, or any other injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $150,000.00 in the form of a check payable to
       petitioner, as legal representative of Andrew Tidd. This amount
       represents compensation for all damages that would be available under
       42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 18-1393V according to this decision
and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
